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IN THE UNITED sTATEs DISTRICT CoURT '
FOR THE WEsTERN DISTRJCT oF TENNESSEE 05 ,.\':_;3;; 25 _ ,
WESTERN DIVISION i "’ ‘*: f
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air 5 55 »» s ’ '~'O
WENDOLYN c. PETTIES, as administratrix of ' 'N iW`L~»PHF s

the estate of EFFIE J. WOOTEN, deceased, and
on behalf of the Wrongful death beneficiaries of
EFFIE J. WOOTEN ,

Plaintiff,
Case No. 04-2996-DA
v.

KINDRED HEALTHCARE, INC., dfb/a
PRIMACY HEALTHCARE AND
REHABILITATION CENTER, KINDRED
HEALTHCARE SERVICES, INC., KINDRED
HEALTHCARE OPERATING, INC.,
KINDRED NURSING CENTERS LIMITED
PARTNERSHIP, GEORGE A. MUNCHOW, in
his capacity as administrator of Primacy
Healthcare and Rehabilitation Center, J. DAVID
MARCHANT, in his capacity as administrator of
Primacy Healthcare and Rehabilitation Center, and
MELISA LUCINDA HALL, in her capacity as
administrator of Prirnacy I-Iealthcare and
Rehabilitation Center,

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Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION TO REMAND

 

This matter is before the Court upon the motion of Plaintiff to remand this case to the Circuit
Court of Shelby County, Tennessee (docket # 7). For the following reasons, this Court GRANTS
Plaintiff’ s motion to remand this case to state court.
I. FACTUAL AND PROCEDURAL BACKGROUND

Eft`ie J. Wooten Was a resident at Primacy Healthcare and Rehabilitation Center (“Primacy”)

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from October 22, 2003 until February 10, 2004 Compl. 11 l7. She was of unsound mind and had
impaired cognitive skills and memory. E_. at 1111 18-19. Plaintiff alleges that Ms. Wooten suffered
numerous injuries which required medical attention and hospitalization while residing at Primacy.
Ld. at 1111 20-21. Plaintiff further alleges that those injuries ultimately led to Ms. Wooten’s death. Ld.
at 21 .

Plaintiff filed a Complaint in the Shelby County, Tennessee Circuit Court on November l,
2004. The corporate Defendants filed a Notice of Removal to federal court, pursuant to 28 U.S.C.
§§ 1441 and 1446, alleging that the individual Defendants were fraudulently joined. Plaintiff filed
a motion to remand to state court on December 30, 2004. The Court heard oral argument on the
motion on April 19, 2005.
II. LEGAI.. STANI)ARD

A case originally filed in state court may be removed to federal court pursuant to 28 U.S.C.
§§ 1441 and 1446. Section 1441 (a) provides that “any civil action brought in a State court of which
the district courts of the United States have original jurisdiction, may be removed by the defendant
. . . to the district court of the United States for the district and division embracing the place where
such action is pending.” 28 U.S.C. § l447l (a). If an action is removed, a federal court may hear the
case if the court has subject matter jurisdiction I_d. “The federal courts are courts of limited
jurisdiction, and have a continuing obligation to examine their subj ect matter j urisdiction throughout
the pendency of every matter before them.” Robinson v. Michigan Consolidated Gas Co., lnc., 9l 8
F.2d 579, 582 (6th Cir. 1990). A defendant in a state court action may remove a case to federal court
when there is diversity jurisdiction

Title 28 of the United States Code, section l332 states in pertinent part:

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(a) The district courts shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between~

(1) citizens of different States. . . .
28 U.S.C. § l332(a). “This statute and its predecessors have consistently been held to require
complete diversity of citizenship That is, diversity jurisdiction does not exist unless ea_ch defendant
is a citizen of a different State from e_a__ch plaintift`.” Owen Eouin. & Erection Co. v. Kroeger, 437
U.S. 365, 374 (1978) (emphasis in original); Safeco Ins. Co. v. Citv of White House, TN. 36 F.3d
540, 545 (6th Cir. 1994).

Removal jurisdiction is a question of law for this court. Davis v. McCourt, 226 F.3d 506,
509 (6th Cir. 2000). The defendant has the burden of establishing that removal is proper. QMQ
v. Genera] Elec. Co., 997 F.2d 150, 155 (6th Cir. 1993) (citing Wilson v. Reoublic Iron & Steel Co.,
257 U.S. 92, 97, 42 S. Ct. 35, 37, 66 L. Ed. 144 (1921)). lmportant federalism considerations
regarding the relationship between the state and federal court systems caution against routinely
finding removal jurisdiction Shamrock Oil & Gas v. Sheets. 313 U.S. 100, 108-09, 61 S. Ct. 868,
872, 85 L. Ed. 1214 (1941). The removal statute is to be strictly construed, and the exercise of
jurisdiction is to be rejected in doubtful cases. A]exander v. Electronic Data Svs. Corp., 13 F.3d 940,
949 (6th Cir. 1994); g also Indiananolis v. Chase Nat’l Bank. 314 U.S. 63, 76-77, 62 S. Ct. 15, 20,
86 L. Ed. 47 (1941). The removing party carries the burden of showing that removal is proper §eg
Pullman v. Jenkins, 305 U.S. 534, 540 (1939); Her Majestv the Oueen v. Citv ofDetroit, 874 F.2d
332, 339 (6th Cir. 1989), lndeed, there is a “strong presumption” against removal, and any doubt
as to whether the removal is proper should be resolved in favor of remand to state court. §§ 28

U.S.C. § 1447(0); §§_e also Union Planters Nat’l Bank v. CBS. Inc., 557 F.2d 84, 89 (6th Cir. 1977);

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Burns v. Windsor lns. Co., 31 F.3d 1092, 1095 (l lth Cir. 1994); Gaus v. Miles Inc., 980 F.2d 564,

 

566 (9th Cir. 1992).
III. ANALYSIS

On the face of Plaintiff’ s complaint, complete diversity is not present because of the common
citizenship of Plaintiff and the individual Defendants. Unless there is a basis for disregarding the
individual Defendants’ Tennessee citizenship, the Court must remand this case.

The doctrine of fraudulent joinder applies when it is “‘clear that there can be no recovery
under the law of the state on the cause alleged or on the facts in view of the law.”’ Alexander v. Elec.
Data Sys. Coi_‘p., 13 F.3d 940, 949 (6th Cir. 1994) (quoting Bobbv Jones Garden Anartments. lnc.
v. Suleski, 391 F.2d 172, 176 (5th Cir. 1968)). The court must ask “‘whether there is arguably a
reasonable basis for predicting that the state law might impose liability on the facts involved’ [or]
. . . whether there was any ‘reasonable basis for predicting that [the plaintiff] could prevail.”’ ILL',
Ye_ also Co\me v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999) (“[l]fthere is a colorable
basis for predicting that a plaintiff may recover against non-diverse defendants, this Court must
remand the action to state court.”). The removing partybears the burden of demonstrating fraudulent
joinder. l_d_. The district court resolves all disputed questions of fact and ambiguities in state law in
favor of the non-removing party. @yli§, 183 F.3d at 493. The court also resolves all doubts as to
the propriety of removal in favor of remand. § Therefore, if the Court decides that Plaintiff’ s
complaint arguably states a cause of action against at least one of the in-state Defendants, the Court
must remand

Defendants argue that the individual Defendants Were fraudulently joined because Plaintiff

has no viable claim against them. Defendants maintain that because the individual Defendants did

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not themselves commit tortious acts against Ms. Wooten, but instead are being sued in their capacity
as administrators, Plaintiff can only allege vicarious liability against the individual Defendants.
However, Tennessee law does not permit claims of vicarious liability against a manager for the acts
of his employees.

As in an action brought pursuant to 42 U.S.C. § 1983, the negligence claim in this case
cannot be brought against the administrators under a theory of respondeat superior. However, as in
a § 1983 case, the Court concludes that if the Plaintiff can show that the actions of the administrators
Were the “moving force” behind Ms. Wooten’s injuries, then the administrators themselves could
be liable for negligence S_ee City of Canton v. Harris, 489 U.S, 378, 389 (1989). Plaintiff asserts
that the claims against the individual Defendants are not based on respondeat superior. Plaintiff
contends that the administrators of Primacy owed both common law and statutory duties to Ms.
Wooten which they breached through their own negligence, not simply the negligence of their
employees Specifically, Plaintiff alleges that the administrator Defendants failed to adequately hire,
train, assess, evaluate, or supervise staff, resulting in injuries to Ms. Wooten, including dehydration,
malnutrition, repeated falls, poor hygiene, over-medication, pressure sores, and, ultimately, death.
Construing all disputed questions of fact and ambiguities in state law in favor of the Plaintiff, the
Court finds that the potential exists forPlaintiff to establish the liability of the individual Defendants.

Defendant contends that the statutes concerning nursing home administrators, specifically,
42 C.F.R. § 483.75, Tenn. Code Ann. § 68-11-801, et seq., Tenn. Code Ann. § 63-16-101, et seq.,
and Rules of the Tennessee State Board ofExaminers for Nursing Home Administrators, Rule 1020-
1.15 and .16, do not provide a private cause of action. However, Plaintiff does not assert a cause of

action under those statutes. lnstead, Plaintiff merely relies on those statutes to establish a standard

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of conduct to which administrators of nursing homes are duty-bound to follow. Demonstrating that
the administrator defendants failed to meet the statutory standard of conduct could establish that they
breached the duty of care that they owed to Ms. Wooten, thus establishing the potential for liability
for negligence

While not determining the merits of this cause ofaction, the Court finds that the complaint
arguably states a viable claim against the individual Defendants under state law. The Court holds,
therefore, that Plaintiff has asserted a potential basis for recovery under state law. Defendants thus
failed to carry their burden of showing fraudulent joinder. Considering the individual Defendants’
citizenship, complete diversity between the parties is lacking Consequently, the Court does nothave
subject matter jurisdiction and must remand the case to state court. This finding does not imply any
determination of the merits of the claim. Indeed, Plaintiff may fail to cany her burden in state court.
The Court’s responsibility on this motion to remand, however, is not to determine the merits of
Plaintiff s claims, but to decide whether or not there is a basis for concluding that Plaintiff could
arguably prevail on her state law claims against the non-diverse Defendants.
IV. CONCLUSION

For the reasons stated herein, Plaintiff’s motion to remand this case to the Shelby County,

Tennessee Circuit Court is GRANTED.

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QZ:Q%M

Bi: RNICE BO’UIE DONALD `
UNITED sTATEs DIsTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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.limmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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